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                                                                             FILED UNDER SEAL
April 4, 2023                                                                          Via CM/ECF
Re:    Klein v. Meta Platforms, Inc., No. 3:20-cv-08570-JD (N.D. Cal.)
Dear Judge Donato:
        Plaintiffs respectfully request relief from a serious, ongoing discovery problem that has
already prejudiced them, and that Meta has refused to remedy. Pursuant to this Court’s order, Meta
certified on December 19, 2022, that it had (with a discrete exception) substantially completed its
document production. The parties then began scheduling depositions. Yet despite certifying that it
had substantially completed its document production, Meta has for approximately two years
withheld from review and production in this case several hundred thousand documents, based on
a privilege review Meta now concedes to be badly flawed. Meta’s partial re-review of these same
documents in the FTC’s antitrust suit led to a 60% downgrade rate, and ended up with an 11th-
hour (March 21, to be precise) production in this case of nearly 30,000 previously withheld
documents—thousands of which were pertinent to then-imminent, and in some cases, already
completed, depositions. Yet when Plaintiffs asked Meta to review the rest of the wrongfully
withheld documents and to work with Plaintiffs to mitigate the prejudice, Meta called Plaintiffs’
proposal a “nonstarter.” The parties met and conferred on March 30, 2023, and reached impasse.
        On April 2, 2021, Judge Koh, then presiding over this action, ordered Meta to “produce to
Plaintiffs the documents Facebook produced to the Federal Trade Commission and the United
States House of Representatives within 30 days.” Dkt. 11. In early May 2021, Meta made that
production (“FTC CID production”), which comprised approximately 3 million, already-produced
documents collected from several dozen current and former Meta employees’ files during the
FTC’s prior antitrust investigation into Meta. In June 2021, Meta served on Plaintiffs a privilege
log with 1,046,992 entries, representing documents withheld or redacted from its FTC CID
production based on supposed claims of attorney-client privilege, work product, or both.
        The FTC CID production’s contours have impacted Plaintiffs’ discovery strategy
throughout this action. Meta insisted its FTC CID production be the foundation from which all
other document discovery in this case must flow. When Plaintiffs served document requests—
Advertiser-specific, Consumer-specific, and joint—Meta insisted it would not search for and
produce documents covering substantive topics Meta claimed were the subject of its FTC CID
production. When the parties negotiated custodians and search terms, Meta asserted it would not
repeat search parameters it used to collect, search, and review the documents ultimately produced
as part of the FTC CID production. Meta affirmatively pressed Plaintiffs to identify custodians
whose documents had not “already been collected” as part of the FTC investigation, carved out
responsiveness dates for “overlapping” custodians to remove date ranges already collected in the
FTC CID production, and used that production as a shield in the parties’ search term negotiations.
        Plaintiffs now know why Meta took the above positions—which continue to this day.
When Meta collected, reviewed, and produced documents to the FTC during its investigation,
Meta improperly withheld hundreds of thousands of documents as allegedly privileged or work
product, when in fact they were not. As Meta’s own lawyers conceded two weeks ago in federal
court, Meta’s privilege calls throughout its 1-million-entry investigational privilege log were badly
flawed. See FTC v. Meta Platforms, Inc., No. 1:20-cv-03590-JEB (D.D.C.), Dkt. 257. Indeed, a
court-guided re-review of approximately 100,000 entries from this log revealed that sixty percent
of the re-reviewed documents—ninety percent of which were withheld completely—were non- or
less-privileged. See id. at 11-15. It is not clear (yet) the precise date on which Meta and its lawyers
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                                      Respectfully submitted,

                                       /s/ Brian J. Dunne
                                      On Behalf of Interim Co-Lead Counsel for the
                                      Advertiser and Consumer Classes

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                                   FILER ATTESTATION

       I am the ECF user who is filing this document. Pursuant to Civil L.R. 5-1(h)(3), I hereby

attest that each of the other signatories have concurred in the filing of the document.


Dated: April 4, 2023                    By: /s/ Brian J. Dunne
                                            Brian J. Dunne




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